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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  Miami Division


 ______________________________________
                                               )
 CENTER FOR BIOLOGICAL DIVERSITY;              )
 TROPICAL AUDUBON SOCIETY;                     )
 MIAMI PINE ROCKLANDS COALITION;               )
 and SOUTH FLORIDA WILDLANDS                   )
 ASSOCIATION,                                  )
                                               ) CASE NO. 1:17cv2444
         Plaintiffs,                           )
                                               )
                   v.                          )
                                               )
 RYAN ZINKE, in his official capacity as       )
 Secretary of the U.S. Department of Interior; )
 U.S. DEPARTMENT OF THE INTERIOR;              )
 U.S. FISH AND WILDLIFE SERVICE;               )
 GREG SHEEHAN, in his official capacity as )
 Principal Deputy Director of U.S. Fish and    )
 Wildlife Service; and JIM KURTH, in his       )
 official capacity as Deputy Director for      )
 Operations and Acting Director of U.S. Fish   )
 and Wildlife Service,                         )
                                               )
         Defendants.                           )
 ______________________________________ )


     PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND/OR
      PRELIMINARY INJUNCTION, SUPPORTING MEMORANDUM OF LAW,
                      AND REQUEST FOR HEARING
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               MOTION FOR TEMPORARY RESTRAINING ORDER AND/OR
                           PRELIMINARY INJUNCTION
         Plaintiffs Center for Biological Diversity, Tropical Audubon, Miami Pine Rocklands
 Coalition, and South Florida Wildlands Association move for an temporary restraining order
 and/or preliminary injunction (TRO/PI) immediately staying the U.S. Fish and Wildlife Service’s
 (Service) incidental take permit (ITP) for the Coral Reef Commons (the Project). This temporary
 restraining order (TRO) is needed because the Developers accelerated their construction
 schedule with three bulldozers that starting clearing land and knocking down trees late yesterday
 afternoon, December 8, 2017. Ex. 21, Valadares Dec. Plaintiffs request an Order directing the
 Service to suspend the effectiveness of the ITP immediately until the Court may rule on
 Plaintiffs’ motion.
         The ITP will allow more than 80 acres of some of the last unique habitats in South
 Florida to be lost forever. These pine rockland forests are home to wildlife and plants like the
 endangered Bartram’s scrub-hairstreak butterfly and deltoid spurge, which are found nowhere
 else. See Ex. 1, ITP at 1; Ex. 5, EA at 70; Ex. 3, BO at 32, 129; Ex. 6, Comments by Roger L.
 Hammer at 2. The Project will consume 50+ acres of upland habitat and 30+ acres of pine
 rocklands, Ex. 4, HCP at 9, 135, rendering what remains uninhabitable for species. Since these
 species have few places left, destroying this habitat jeopardizes their very existence. Without
 emergency injunctive relief, Plaintiffs and the environment suffer irreparable harm.
         Plaintiffs are likely succeed on the merits of their claims, which allege that Defendants
 U.S. Fish and Wildlife Service (Service); Department of the Interior; Ryan Zinke, in his official
 capacity as Secretary of the Interior; Gregory Sheehan, in his official capacity as Principal
 Deputy Director of the Service; and Jim Kurth, in his official capacity as Deputy Director for
 Operations and Acting Director for the Service have issued an unlawful Endangered Species Act
 (ESA) ITP and “biological opinion” in violation of Administrative Procedure Act (APA) and
 National Environmental Policy Act (NEPA). The public interest favors a TRO/PI to protect
 endangered species and the natural environment and to maintain the status quo until the Court
 resolves this motion. The public’s interest in preventing such irreparable harm outweighs any
 inconvenience to Defendants or the Developers in suspending the ITP. Finally, Plaintiffs should
 not be ordered to post a bond pursuant to Fed. R. Civ. Pro. 65(c) as courts typically waive bonds
 in litigation such as this.
         Plaintiffs respectfully request a hearing on this motion as the Court’s calendar allows.
                                                  1
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                    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
               Pine rockland forests, found only in South Florida and the Bahamas, are some of the most
 imperiled ecosystems in the world, and home to rare plants and animals found nowhere else. Ex.
 5, EA at 6. The Richmond pine rockland tract is the largest of such landscapes outside
 Everglades National Park, Ex. 5, EA at 6, supporting 260 native plants and rare species like the
 Bartram’s scrub-hairstreak butterfly, Florida bonneted bat, rim rock crowned snake, and deltoid
 spurge.1
               The Richmond pine rockland tract is the site of an 88-acre mega-development called
 Coral Reef Commons, which would clear this rare forest and replace it with a commercial
 supercenter, chain restaurants, and apartments. Ex. 4, HCP at 9; Ex. 6, Comments by Alexander
 Robillard at 1. The Project is slated to add more than 17,000 cars daily to congested roads,
 permanently destroy more than 82 acres of habitat, and degrade and fragment even more habitat
 with pollution, killing, injuring, and harming ESA-protected species in the process. The Project
 will intensify the impacts of climate change on these species by eliminating higher-elevation
 refugia from sea-level rise and storm surges.
               This destruction has been permitted through a flawed permit issued by the Service and
 backed by a convoluted “conservation plan” that violates several environmental laws.
                                                                FACTUAL BACKGROUND
               On November 30, 2017, the Service issued a biological opinion (BO) for the Project,
 paving the way for its approval of the Coral Reef Commons Habitat Conservation Plan (HCP)
 and an incidental take permit (ITP) on December 5, 2017. Ex. 3, BO at 1; Ex. 1, ITP at 1.
 Plaintiffs were made aware of the ITP approval via an email from the Service’s Public Affairs
 Officer at 3:13 p.m. on December 5, 2017. Ex. 7, Email from Ken Warren, entire. The BO covers
 rare and imperiled species like the Bartram’s scrub hairstreak butterfly, eastern indigo snake,
 Florida bonneted bat, Florida leafwing butterfly, gopher tortoise, Miami tiger beetle, Rim Rock
 crowned snake, and white-crowned pigeon. Ex. 3, BO at v-vi. The BO also reviews impacts and
 conservation measures for 14 federal candidate, threatened, and endangered plant species,
 including the endangered tiny polygala and deltoid spurge. The HCP relies heavily on a “habitat
 valuation assessment.”

                                                             
 1
  U.S. Fish and Wildlife Service, Multi-Species Recovery Plan – Pine Rocklands, 3-173 (July 23,
 2014) https://www.fws.gov/verobeach/MSRPPDFs/Pinerock.pdf.
                                                                        2
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               On December 4, 2017 the Service issued a statement of findings (SOF) on the HCP, ITP,
 and Environmental Assessment (EA) and decided to issue ITP. Ex. 2, SOF at 1. To date, the
 Service has not made publically available a “finding of no significant impact” (FONSI).
               Plaintiffs promptly filed their complaint and the instant motion within 3 days of the
 Service announcing its decision, and within hours of learning that Permittees had commenced
 construction activities.
                                                     STANDARD AND SCOPE OF REVIEW
               The Court should grant a TRO/PI because Plaintiffs show: (1) a substantial likelihood of
 success on the merits; (2) that they are suffering irreparable harm; (3) that this harm exceeds any
 harm suffered by the Service and Developers; and (4) that an injunction would serve the public
 interest. Grizzle v. Kemp, 634 F.3d 1314, 1320 (11th Cir. 2011); Nat’l Wildlife Fed’n v. Marsh,
 721 F.2d 767, 770 (11th Cir. 1983); S. Dade Land Corp. v. Sullivan, 853 F. Supp. 404, 410 (S.D.
 Fla. 1993) (plaintiff seeking temporary injunctive relief must show “the elements required for
 issuance of a preliminary injunction”). The Court may issue a TRO without notice to the Service
 and Developers because: 1) “specific facts” set forth below “clearly show that immediate and
 irreparable injury, loss, or damage will result” before the Center can be heard in opposition; and
 2) the Center’s attorney has certified her efforts to give notice to Defendants Fed. R. Civ. P.
 65(b)(1). The Court should also decline to enter an injunction bond. Fed. R. Civ. P. 65(c).
               A TRO/PI will “preserve the status quo until the rights of the parties can be fairly and
 fully investigated and determined by strictly legal proof and according to the principles of
 equity.” Wash. Cnty., N.C. v. U.S. Dep’t of the Navy, 317 F. Supp. 2d 626, 631 (E.D.N.C. 2004)
 (quoting Sinclair Refining Co. v. Midland Oil Co., 44 F.2d 42, 45 (4th Cir. 1932)); Ne. Fla.
 Chapter of Ass’n of Gen. Contractors v. Jacksonville, 896 F.2d 1283, 1284 (11th Cir. 1990).
 Such relief “is not a final adjudication of the rights of the parties” but simply temporarily
 reserves the parties’ rights. Wash. Cnty., 317 F. Supp. at 631 (internal citation omitted); see also
 Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995); Complete
 Angler, LLC v. City of Clearwater, Fla., 607 F. Supp. 2d 1326, 1330 (M.D. Fla. 2009).2


                                                             
 2
  Given the exigency of this motion, Plaintiffs focus on specific claims which will allow the
 Court to enter preliminary injunctive relief until the case may be heard and after the Defendants
 produce an administrative record. Plaintiffs reserve their right to pursue all of the claims in their
 complaint at the summary judgment stage of the proceeding.
                                                                  3
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                                                                ARGUMENT
 I.            Plaintiffs will be irreparably harmed absent a temporary restraining order and
               preliminary injunction
               Plaintiffs are irreparably harmed in the absence of a TRO/PI. Upon information and
 belief, after the Service notified the public that it had approved the ITP, the Permittee began
 clearing the pine rocklands and surrounding habitat on the Project site yesterday at about 3:30 in
 the afternoon.3 Once the permittees’ bulldozers destroy the unique pine rocklands landscape, it
 will likely be impossible to restore it to its original state, and the threatened and endangered
 species that depend on it for survival will be lost, possibly forever.
        a. The Project will irreparably destroy and degrade rare pine rockland habitat and
           harm threatened and endangered species
               For the Plaintiffs, “irreparable injury is likely in the absence of an injunction.” Winter v.
 Nat. Res. Def. Council, 555 U.S. 7, 22 (2008). “An injury is irreparable if it cannot be undone
 through monetary remedies.” Scott v. Roberts, 612 F.3d 1279, 1295 (11th Cir. 2010) (internal
 quotation marks omitted). This inquiry “does not focus on the significance of the injury,” but
 rather on “whether the injury . . . is irreparable—that is, whether there is any adequate remedy at
 law . . . .” Sierra Club v. Martin, 71 F. Supp. 2d 1268, 1327 (N.D. Ga. 1996). Courts “readily
 find that an environmental injury is ‘irreparable’ because ‘[e]nvironmental injury, by its nature,
 can seldom be adequately remedied by money damages and is often permanent or at least of long
 duration, i.e., irreparable.’” U.S. v. Jenkins, 714 F. Supp. 2d 1213, 1221-22 (S.D. Ga. 2008)
 (quoting Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 545 (1987)).
               Destruction of rare pine rocklands and the threatened and endangered species that live at
 the Project site is per se irreparable. See Ex. 3, BO at 7. Many of these species are found only in
 small patches of some of their last remaining habitat, so bull-dozing the Project site may push
 these species beyond the point from which they can recover, or even survive, the threat of
 extinction. See Alliance for the Wild Rockies, 632 F.3d at 1135; see also Nat’l Wildlife Fed’n v.
 Harvey, 440 F. Supp. 2d 940, 958 (E.D. Ark. 2006) (“When an endangered species is allegedly
 jeopardized, the balance of hardships and public interest tip in favor of the protected species.”);
 Bensman v. U.S. Forest Serv., 984 F. Supp. 1242, 1249 (W.D. Mo. 1997) (“[D]eath is certainly
 an irreparable harm and the extinction of a species is ‘incalculable.’”).
                                                             
 3
  See Ex. 16, Jenny Staletovich, Federal wildlife managers clear way for Walmart in vanishing
 South Florida forest, Miami Herald (Dec. 2017),
 http://www.miamiherald.com/news/local/environment/article188236199.html.
                                                                   4
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               Plaintiffs are also irreparably injured by the Service’s violations of NEPA, as described
 below. An agency’s failure “to comply with NEPA before reaching a determination” and prepare
 an EIS constitutes irreparable injury by “‘add[ing] risk to the environment’” with decisions based
 on incomplete information. Sierra Club v. Norton, 207 F. Supp. 2d 1310, 1340-41 (S.D. Ala.
 2002) (quoting Sierra Club v. Marsh, 872 F.2d 497, 500-01 (1st Cir. 1989)); Fla. Wildlife Fed’n
 v. U.S. Army Corps of Eng’rs, 404 F. Supp. 2d 1352, 1361-62 (S.D. Fla. 2005). This injury is
 irreparable in a NEPA challenge where preliminary relief is necessary to “maintain the status quo
 pending review.” San Luis Valley Ecosystem Council v. U.S. Fish and Wildlife Serv., 657 F.
 Supp. 2d 1233, 1240-42 (D. Colo. 2009).
        b. Plaintiffs are suffering irreparable harm to their recreational and aesthetic interests
               Plaintiffs are suffering harm to their recreational and aesthetic interests, Ex. 18, Clancy
 Dec.; Ex. 19, Sunshine Dec.; Ex. 20, Schwartz Dec.; Ex. 17, Greenwald Dec., which are well-
 established, legally cognizable injuries. Fund for Wild Animals v. Lujan, 962 F.2d 1391, 1397
 (9th Cir. 1992) (citing Sierra Club v. Morton, 405 U.S. 727, 734 (1972)). The Service issued
 the ITP on December 5, 2017, authorizing the Developers to destroy and develop pine rocklands
 and other habitat on the Project site.4 These activities are occurring now. Ex. 18, Clancy Dec. ¶
 26. Harm to an individual’s aesthetic and recreational interests in enjoying wildlife is irreparable
 because it cannot be undone. Thus, irreparable harm to Plaintiffs, pine rocklands, and protected
 species is “real and immediate”—indeed, it is occurring now. See S.D. v. St. Johns Cty. Sch.
 Dist., 632 F. Supp. 2d 1085, 1095 (M.D. Fla. 2009) (citing City of Los Angeles v. Lyons, 461
 U.S. 95, 101 (1983)).5
 II.           Plaintiffs have standing to bring this case
               Plaintiffs are non-profit environmental and conservation organizations representing
 concerned citizens of Miami-Dade County and south Florida. Plaintiffs’ members have standing
 to bring these claims, as they live and recreate in the region. They use public and private lands
 nearby for hiking, birdwatching, wildlife viewing, quiet and spiritual contemplation, and nature
 photography. By its very nature, “environmental injury, . . . is often permanent or at least of long
                                                             
 4
   See Ex. 16, Jenny Staletovich, Federal wildlife managers clear way for Walmart in vanishing
 South Florida forest, Miami Herald (Dec. 2017),
 http://www.miamiherald.com/news/local/environment/article188236199.html.
 5
   Indeed, the terms “environmental” and “irreparable” are essentially interchangeable modifiers
 of “harm.” See Fla. Key Deer v. Brown, 386 F. Supp. 2d 1281, 1286 (S.D. Fla. 2005), aff’d sub
 nom. Fla. Key Deer v. Paulison, 522 F.2d at 1133 (11th Cir. 2008).
                                                                5
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 duration, i.e., irreparable.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th
 Cir. 2011) (citation omitted); see also Central Or. Landwatch v. Connaughton, 905 F. Supp. 2d
 1192, 1197 (D. Or. 2012). Plaintiffs’ members’ interests are harmed by the Service’s approval of
 the ITP and those harms would be redressed by a Court order requiring the agency to reevaluate
 and further review it. The interests Plaintiffs seek to protect are germane to their organizational
 purposes, and this case does not require their individual members to participate.
 III.      Plaintiffs are substantially likely to prevail on the merits of their claims
           Plaintiffs have enough evidence to establish a “substantial likelihood of success on the
 merits,” and hence the Court “need not find that the evidence positively guarantees a final verdict
 in plaintiff’s favor.” Levi Strauss, 51 F.3d at 985. Here, Plaintiffs present evidence that
 Defendants are likely violating NEPA and the APA. 5 U.S.C. § 706; Sierra Club v. U.S. Army
 Corps of Eng’rs, 295 F.3d 1209, 1216 (11th Cir. 2002). Thus the Court should enjoin the
 effectiveness of the ITP as it was approved following a process and analyses that are “arbitrary,
 capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2).
        a. The Service violated the APA.
                 i. The Service arbitrarily and capriciously relied on an unprecedented and
                    scientifically unsupported “habitat functional assessment” to measure
                    species impacts and associated mitigation in approving the BO.
           To survive review, the Service must “examine the relevant data and articulate a
 satisfactory explanation for its action including a ‘rational connection between the facts found
 and the choice made.’” Motor Veh. Mfrs. v. State Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983). It
 also must base its conclusions on the best available science “to ensure that the ESA not be
 implemented haphazardly, on the basis of speculation or surmise.” Bennett v. Spear, 520 U.S.
 154, 176 (1997). Yet here the Service approved an HCP entirely based on a novel “habitat
 functional assessment” that has no link to the affected species and ignores the best available
 science. Thus, the Service failed to consider the best scientific information relevant to each
 species’ conservation needs and failed to draw a rational connection between the facts found and
 the findings made in its habitat value assessment. The Service erred in the following four ways.
           First, rather than consider the individual habitat needs of each listed species when
 determining the effects of the action and potential mitigation, the Service created a haphazard
 “habitat functional assessment” that purportedly measured the habitat value for all species based



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 on six generic factors. Ex. 4, HCP at 82.6 This one-size-fits-all approach was arbitrary and
 capricious because it fails to account for the listed species’ specific habitat needs. Approving a
 conservation plan that is predicated on a habitat functional assessment and biological opinion
 that fail to accurately account for and mitigate impacts to species is arbitrary and capricious. It
 renders conservation goals unattainable. Home Builders Ass’n v. U.S. Fish & Wildlife Serv., No.
 Civ. S-05-0629 WBS-GGH, 2006 U.S. Dist. LEXIS 80255, at *58-59 (E.D. Cal. Nov. 1, 2006).
 Because habitat characteristics can be fundamental to one species but not another, the Service
 must assess each species’ precise needs. By relying on a vague habitat value assessment that
 conflates the needs of all affected species, the Service failed to evaluate the impacts to each
 species or ensure that these impacts will be adequately mitigated in the HCP.
               Second, neither the BO nor the HCP contain any explanation of how the Developers
 delineated or scored the polygons that were applied to assess habitat values at the Project site,
 leading to apparently arbitrary assessments. For instance, it is unclear how the permittee
 concluded that polygons that will in fact become more isolated and fragmented after
 development will experience an increase in the valuation score for “habitat connectivity.” See,
 e.g., Ex. 4, HCP at 74.
               Third, the habitat value assessment and the HCP rely on the wholly speculative
 assumption that prescribed fire will be possible, despite the weight of science indicating
 construction of the Project will inhibit prescribed burns. See Ex. 6, Comments by Roger L.
 Hammer at 2-3; Ex. 6, Comments by Julie Milstid at 2-3; Ex. 6, Comments by Jennifer Possley
 at 4. The best available scientific evidence dictates that “as residential and commercial
 developments have expanded” around the Project site, “the fire regimen has been reduced or
 eliminated” and indeed, after Coral Reef Commons project is constructed, “further restrictions
 will be placed upon the fire programs.” Ex. 4, HCP App B. Given the construction of 900
 residential units, retail, and a school in such a small area, it is extraordinarily optimistic to
 assume that prescribed burns would be possible without threatening property. It also defies past
 agency practice, see Ex. 4, HCP App. B, to assume that prescribed burning will be a viable land
 management tool once construction of the Project is complete.



                                                             
 6
   These factors include: open canopy, native herbaceous plants, exposed limestone substrate, fire
 frequency, low-levels of invasive plants, and habitat connectivity. Ex. 4, HCP at 82.
                                                                7
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        Finally, the habitat value assessment allows “double accrediting” for removal of exotic
 vegetation, which is often directly related to the percent native vegetation cover, and vice versa,
 so that polygons that score high for percent native vegetation cover also score high for removal
 of non-native vegetation, making the distinction between the two meaningless except to
 artificially inflate the value of some polygons. Ex. 4, HCP at 82. Further tipping the scale are the
 non-native vegetation and the native vegetation values that have the greatest weighted values.
 Ex. 4, HCP at 82.
              ii. The Service arbitrarily and capriciously relied on the off-site mitigation
                  area, which is owned by a third party and subject to land-use restrictions.
        The Service had to find that the Developers “will, to the maximum extent practicable,
 minimize and mitigate the impacts” of taking threatened or endangered species for the Project.
 50 C.F.R. §§ 17.22(b)(2)(i)(B), 17.32(b)(2)(i)(B). Yet the Service arbitrarily relied on
 conservation activities proposed at an off-site mitigation area that is: 1) owned and controlled by
 a third party that is not bound by the ITP’s terms; and 2) subject to protections already. This
 undermines any claim of their conservation value. In addition, the Service ignored any analysis
 of off-site mitigation area on a species-by-species basis that would even have allowed it to draw
 a connection between impacts and how they might be offset, let alone a rational connection.
        The HCP is intended to cover incidental take associated with “the construction of mixed-
 use development within 86.49 acres and all activities associated with such development.” Ex. 4,
 HCP at 79. The 86.49 acres—and associated development activities—are under the control of the
 primary Developer: Ram Coral Reef. Ex. 4, HCP at 1, 5-6. The HCP relies on an off-site
 mitigation area to offset species impacts from the Project. Ex. 4, HCP at 79, 119-21. This
 property is part of the University of Miami Richmond campus and owned by the University of
 Miami (UM), Ex. 4, HCP at 5, 119, which is wholly unassociated with the Project. UM is termed
 “Applicant” in the HCP, but without an interest in mitigation, UM is not bound to follow the
 HCP or ITP. Thus, while termed an “Applicant,” UM is simply a third party without an interest
 in the covered action. 50 C.F.R. § 402.02 (defining “applicant” as someone “who requires formal
 approval or authorization from a Federal agency as a prerequisite to conducting the action”).
        An applicant for an HCP cannot receive mitigation credit for mitigation performed by a
 third party. 16 U.S.C. § 1539(a)(2)(B)(ii) (requiring the Service to find “the applicant will . . .
 minimize and mitigate the impacts of [species take]” (emphasis added)); see Klamath-Siskiyou
 Wildlands Ctr. v. Nat’l Oceanic & Atmospheric Admin., 99 F. Supp. 3d 1033, 1050 (N.D. Cal.
                                                   8
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  2015); Sierra Club v. Babbitt, 15 F. Supp. 2d 1274, 1282 (S.D. Ala. 1998). Because UM is not
  an applicant for the purposes of the HCP, the Service acted arbitrarily and capriciously in
  approving mitigation to be provided by a non-party to mitigate Ram Coral Reef’s activities.
         Even if the “off-site mitigation area” were not owned by an uninterested third party, it is
  already subject to land-use restrictions and thus cannot be considered new or additional
  commitment of resources to mitigate the Project impacts of take permitted under the ITP. This is
  double-dipping that contravenes Section 10’s mandate that the Service find that the applicant
  “will, to the maximum extent practicable, minimize and mitigate the impacts of taking,” 16
  U.S.C. § 1539(a)(2)(B)(ii) (emphasis added), resulting in an added conservation benefit. See
  Pacificans for a Scenic Coast v. Cal. DOT, 204 F. Supp. 3d 1075, 1088 (N.D. Cal. 2016)
  (holding the approval of a transit project invalid where the Service accepted as mitigation for
  species impacts a proposal to preserve a 5.14-acre site that had already been preserved); see also
  Gerber v. Norton, 294 F.3d 173, 183 (D.C. Cir. 2002) (discussing the “problem” that “an open-
  space covenant already existed on the mitigation site, thus drawing into question whether placing
  a conservation easement on the site added anything to existing protections”). Here, 39.64 acres
  of pine rockland Natural Forest Community and 3.72 acres of hardwood hammock Natural
  Forest Community must already be “preserved in natural condition” with g controlled burns and
  exotic plant removal, pursuant to a covenant that runs with the land. HCP App. B. UM and the
  Developers cannot then also count those acres toward mitigation of the Project’s impacts.
         Last, Mitigation must be “rationally related to the level of take [authorized] under the
  plan.” Nat’l Wildlife Fed’n v. Norton, 306 F. Supp. 2d 920, 928-29 (E.D. Cal. 2004). Yet there
  are no surveys for the property, and thus no basis for the Service’s conclusion that the off-site
  mitigation area will, in fact, offset impacts to the listed species from the Project. As the HCP
  lacks a species-specific, rational connection between the off-site mitigation and the authorized
  impacts, the Service’s approval of the proposed off-site mitigation was arbitrary and capricious.
              iii. The Service failed to ensure adequate funding for the conservation plan.
         The Service had to find that the Developers will adequately fund the conservation fund.
  50 C.F.R. §§ 17.22(b)(2)(i)(C), 17.32(b)(2)(i)(C); Sw. Ctr. for Biological Diversity v. Bartel, 457
  F. Supp. 2d 1070, 1105 (S.D. Cal. 2006) (citing Sierra Club v. Babbitt, 15 F. Supp. 2d 1274,
  1281-82 (S.D. Ala. 1998)) (“applicant cannot rely on speculative future actions of others”). Yet



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  the Service relied on speculative funding sources based on the actions of third parties not bound
  by the ITP, rendering its conclusion that the HCP is adequately funded arbitrary and capricious.
                The Developers claimed that perpetual maintenance costs will be funded through a Coral
  Reef Commons Master Property Owners Association (Association), to be established for the
  Project,7 which will raise funds for maintenance. Ex. 4, HCP at 144-45, Appendix M. As a
  contingent assurance, the Developer claimed a dormant “Special Taxing District” “will be
  recorded”8 and may be re-activated to raise funds should the Association dissolve; re-activation
  condition precedent aside, the Special Taxing District can be easily dissolved through a petition
  to Miami-Dade County that the Board of County Commissioners approves. Ex. 4, HCP at 145-
  46.
                The Service’s reliance on Developers’ “financial assurances” is arbitrary and capricious.
  Funding is wholly dependent on the construction and success of the mixed-use residential
  development at the Project, and hence there will be no funding if the development fails.
  Likewise, the financial responsibility for maintaining the mitigation areas falls on the
  Association, which is not a party to the ITP, meaning the Service has no way to enforce the
  Developers’ funding commitments. Any assurance found in the Special Taxing District is
  unreliable because Miami-Dade County can simply dissolve based on a petition, even if the
  Service objects. Because the Developers’ funding commitments are speculative, contingent on
  third-party actors, and unenforceable by the Service, the Service arbitrarily and capriciously
  found that there is “adequate funding” for the HCP. See Sw. Ctr. for Biological Diversity, 457 F.
  Supp. 2d at 1105-06 (reliance on speculative future actions by unnamed parties for the majority
  of money needed to implement a conservation plan was arbitrary and capricious); Nat’l Wildlife
  Fed’n v. Babbitt, 128 F. Supp. 2d 1274, 1295 (E.D. Cal. 2000) (a cost-shifting mechanism under
  which funding depends on the participation of a third party requires the Applicant’s guarantee to
  “ensure” funding).
                          iv. The Service failed to specify take and unlawfully used a surrogate measure
                              in the biological opinion.
                When the Service anticipates take of listed species, it must issue an “incidental take
  statement” (ITS) that specifies “the amount or extent of . . . incidental taking of a listed species.”
                                                              
  7
    The HCP states that “the Master Association established for the CRC Property” is described in
  “Section 11.5.2 of the HCP,” Ex. 4, HCP at 144, but such section does not exist.
  8
    The Special Taxing District and CRC Master Association are conditions of the ITP. Ex. 4, HCP
  at 145-146.
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  50 C.F.R. § 402.14(i)(l)(i). An ITS may lawfully allow take of a listed species “as long as the
  statement sets a ‘trigger’ for further consultation” when “allowed incidental take is exceeded, a
  point at which there is a risk of jeopardizing the species.” Miccosukee Tribe of Indians v. U.S.,
  566 F.3d 1257, 1271-72 (11th Cir. 2009). This trigger “alert[s] the agency when the allowed
  incidental take has been exceeded” and hence can avert jeopardy to the species. Id. at 1272.
                Thus Service must: (1) set a numerical “cap” or, in some circumstances, a rational
  surrogate on take; and (2) specify monitoring provisions to assess actual take and effectuate the
  trigger. Id. at 1275. Congress has declared a preference for a numerical expression of take,
  Miccosukee Tribe of Indians, 566 F.3d at 1274, though the Service may use a surrogate if the
  BO: (1) “explains why it is not practical to express the amount or extent of anticipated take . . . in
  terms of individuals”; (2) “[d]escribes the causal link between the surrogate and take of the listed
  species”; and (3) “sets a clear standard for determining when . . . take has been exceeded.” 50
  C.F.R. § 402.14(i)(1)(i). The Service has not met any of these requirements here.
                The BO contains no “incidental take statement,” but instead references the HCP. Ex. 3,
  BO at 172-173.9 Thus, the Service does not set take numerically for any of the affected species.
  Likewise, although the Service observes that a habitat surrogate can be applied “[to] situations
  where it is impractical to detect or monitor take of individual species,” Ex. 4, HCP at 81, it does
  not explain why it is impracticable to express take numerically for affected species here.10
         b. The Service is violating NEPA
                NEPA is the Nation’s charter for protection of the environment. 40 C.F.R. § 1500.1(a).
  Congress designed NEPA to “insure that environmental information is available to public
  officials and citizens before decisions are made and actions are taken” and to “help public
  officials make decisions that are based on understanding of environmental consequences.” Id. §
  1500.1(b)-(c) (emphasis added).
                            i. The Service has not made its FONSI available for public review for 30 days
                In May 2015, RAM Coral Reef and UM applied to the Service for a 30-year ITP to
  develop Coral Reef Commons, thereby causing incidental take of listed species. With irreversible
  destruction of some of the last pine rocklands, the ITP would permit take of these species. On
                                                              
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    “The amount or extent of incidental take anticipated under the proposed CRC HCP, associated
  reporting requirements, and provisions for disposition of dead or injured animals are as described
  in the HCP and its accompanying section 10(a)(1)(B) permit(s).” Ex. 3, BO at 172-173.
  10
     This is true even though several of the species are capable of detection and have received
  numeric take limits for other federal projects.
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  March 23, 2017, the Service announced the proposed HCP and a draft EA for public review and
  comment. More than 3,000 people, including experts in the species and habitats at issue,
  submitted comments in opposition to the proposal. Ex. 2, SOF at 7. Most of these comments
  opposed the Project and favored science-based species protection.
         The EA determines whether the proposed action is a “major Federal action significantly
  affecting the quality of the human environment” and if so, an EIS is required. If not, a FONSI
  must be prepared and signed. 550 FW 3 Documenting and Implementing Decisions 3.3(B)(1).
  Service policy also “dictates that the FONSI must be made available to the affected public.” 550
  FW 3 Documenting and Implementing Decisions 3.3(B)(4)(a). Moreover, the Service must make
  the FONSI available for a 30-day public review, in accordance with 40 C.F.R. 1501.4(e)(2), if:
         (i) The proposal is a borderline case (i.e., there is a reasonable argument for preparation
         of an EIS).
         (ii) The proposal is an unusual case, a new kind of action, or a precedent-setting case.
         (iii) There is either scientific or public controversy over the proposal.
         (iv) When the FONSI involves a proposal which is or is closely similar to one which
         normally requires preparation of an EIS.
  550 FW 3 Documenting and Implementing Decisions 3.3(B)(4)(c)(i)-(iv); 40 C.F.R.
  1501.4(e)(2), 1508.27.
         On December 5, 2017, the Service announced it had approved the HCP and issued an ITP
  for the Project. The Service did not apparently publish or otherwise make available to the public
  a FONSI for its decision to issue the ITP. Thus, it has failed to give the public 30 days to review
  its determination that the project will not significantly impact the human environment.
               ii. The Service did not consider a reasonable range of alternatives in the EA
                   and HCP
         NEPA requires a “detailed statement” of “alternatives to the proposed action.” 42 U.S.C.
  § 4332(2)(c). The statement must compare impacts of the proposal and the alternatives, “sharply
  defining the issues and providing a clear basis for the choice among options by the
  decisionmaker and the public.” 40 C.F.R. §§ 1502.14, 1508.9(b) (providing an EA “[s]hall
  include brief discussions of the need for the proposal, of alternatives as required by section
  102(2)(E), of the environmental impacts of the proposed action and alternatives, and a listing of
  agencies and persons consulted.”). It must therefore “rigorously explore and objectively evaluate
  all reasonable alternatives.” 40 C.F.R. § 1502.14(a). To that end, courts have insisted that
                                                   12
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  agencies “consider such alternatives to the proposed action as may partially or completely meet
  the proposal’s goal.” Nat. Res. Def. Council, Inc. v. Callaway, 524 F 2d 79, 93 (2d Cir. 1975).
  Failure to examine a viable alternative renders an EIS or EA inadequate. See Muckleshoot Indian
  Tribe v. U.S. Forest Serv., 177 F.3d 800, 814 (9th Cir. 1999).
                The EA lacks a range of reasonable alternatives here. Aside from the no-action
  alternative (Alternative 1), there is just: a “redevelopment option” of 25.4 developed acres
  (Alternative 2); three alternatives consisting of 92-100 developed acres (Alternatives 3-5); and a
  preferred alternative of more than 86 developed acres (Alternative 6). Ex. 5, EA at 41. The
  Service rejected the “redevelopment alternative” for not being an “environmentally conscious”
  or “economically viable” development. Ex. 4, HCP at 69. Yet because the redevelopment
  alternative included mixed-use development and impacted significantly fewer acres of rare pine
  rocklands, the issue appears to be economic viability; even so, the EA lacks any financial
  analysis to support the Developers’ claim that it is not economically viable. See Ex. 5, EA at 42;
  Ex. 4, HCP at 69.
                The Service simply cannot blindly adopt an applicant’s hollow economic rationale as
  determinative. Sw. Ctr. for Biological Diversity v. Bartel, 470 F. Supp. 2d 1118, 1158 (S.D. Cal.
  2006); see also CEQ, Forty Most Asked Questions Guidelines Concerning CEQ’s NEPA
  Regulations, Question 2a (Mar. 23, 1981). Such a “cursory dismissal . . . , unsupported by
  agency analysis” simply cannot satisfy the Service’s “duty” to consider a range of alternatives.
  Envt’l Prot. Info. Ctr. v. U.S. Forest Serv., 234 Fed. Appx. 440, 443, 2007 WL 1417163 (9th Cir.
  2007). Also, NEPA does not allow an agency to eliminate “whole range of alternatives” because
  “they would achieve only some” of the project’s purposes. Town of Matthews v. U.S. Dep’t of
  Transp., 527 F. Supp. 1055 (W.D. N.C. 1981).11
                Indeed, Alternatives 3, 4, and 5 are essentially the same alternative, differing only by a
  few acres. All three involve the same amount of commercial development, and Alternatives 4
  and 5 have the same amount of residential units. Ex. 5, EA at 41. By summarily rejecting the
  redevelopment alternative and presenting three substantially identical “alternatives,” the
  Applicant has not provided “a clear basis for choice among options by the decisionmaker and the
                                                              
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     See also N. Buckhead Civic Assoc. v. Skinner, 903 F.2d 1533, 1542 (11th Cir. 1990)
  (explaining “a discussion of alternatives that would only partly meet the goals of the project may
  allow the decision maker to conclude that meeting part of the goal with less environmental
  impact may be worth the tradeoff with a preferred alternative that has greater environmental
  impact”).
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  public” as NEPA requires. 40 C.F.R. § 1502.14; see also Muckleshoot Indian Tribe, 177 F.3d at
  813 (rejecting environmental impact statement that failed to provide a true range of alternatives);
  Curry v. U.S. Forest Serv., 988 F. Supp. 541 (W.D. Penn 1997) (same).12
                          iii. The Service failed to Prepare an Environmental Impact Statement
                NEPA requires agencies to complete an Environmental Impact Statement (EIS) for
  proposed actions that may significantly affect the quality of the environment. 42 U.S.C. 4332(C).
  While an EA, as completed here, should “briefly provide[] sufficient evidence and analysis for
  determining whether to prepare an EIS” and “facilitate[] preparation of an EIS when one is
  necessary,” CEQ, Forty Most Asked Questions Concerning CEQ’s National Environmental
  Policy Act Regulations, at 36a (Mar. 23, 1981), an EIS should provide “all the information on
  environmental impacts and alternatives that the decisionmaker and the public need . . . to . . . .
  deci[de]” and “to ascertain . . . every significant factor . . . .” Id. at 25a; Sierra Club v. U.S. Army
  Corps of Eng’rs, 295 F.3d 1209, 1215 (11th Cir. 2002); 40 C.F.R. §§ 1502.1, 1508.9, 1508.11.
                To determine whether a project’s effects are significant, and thus whether a detailed EIS
  is required, an agency must consider both context and intensity. 40 C.F.R. § 1508.27. For a
  site-specific action, “context” means “the effects in the locale” (not the world as a whole) and
  “[b]oth short- and long-term effects are relevant.” Id. § 1508.27(a). Intensity means “the severity
  of the impact” and requires consideration of numerous factors at play here. Id. § 1508.27(b).
  Public controversy surrounding the potential impacts of a federal action on the human
  environment strongly suggests that an EIS is required. Id. § 1508.27(b)(4), (5). The presence of
  just one intensity factor can require an EIS. Ocean Advocates v. U.S. Army Corps of Eng’rs, 361
  F.3d 1108, 1125 (9th Cir. 2004). 
                The Service was required to prepare an EIS for the Project because the action is
  “significant” in several ways. Locally, it will destroy approximately 86.5 acres in the Richmond
  pine rockland, an exceptionally rare habitat inhabited by many protected species that cannot live
  anywhere else. See Ex. 5, EA at 1, 7, 21-26. Regionally, it will destroy even more of a unique
  habitat that has already been reduced by 98 percent outside of Everglades National Park. See Ex.
  5, EA at 5-6. For many species, the Project site is the last of very few places left where they can
  survive. See, e.g., Ex. 4, HCP at 43-44, 51, 55-56. See Ex. 6, Comments by Jennifer Possley at 2-
                                                              
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    It is unclear whether any other less damaging alternatives were considered. The draft HCP
  simply states, “other alternatives were considered and rejected earlier in the process, and
  therefore, not brought forward for in-depth consideration.” Ex. 4, HCP at 68.
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  4. The Project will have permanent consequences for habitat and perhaps the very existence of
  these species. The Project satisfies several intensity factors; it would put human development in
  direct proximity to areas planned for prescribed burns, Ex. 4, HCP at 128-129, affecting air
  quality and public safety. Ex. 4, HCP App. J at 4.13
                In light of all of the above, it cannot be disputed that the Project will be “significant,”
  particularly when one considers the loss of 86.49 acres and fragmentation of some of the last
  remaining habitat of its kind, and the killing, injuring, and harming eight protected wildlife
  species and 14 protected plants. Ex. 4, HCP at 7-9. Even assuming it would benefit the
  environment, which Plaintiffs would not stipulate, it is significant. See 40 C.F.R. §
  1508.27(b)(1).
                Likewise, the Project is located in an ecologically critical area. Most of the habitat within
  the Project area is pine rocklands, Ex. 5, EA at 1, a rare, declining habitat characterized by
  limestone substrate and South Florida slash pine that has diminished from approximately
  185,000 acres to just 22,790 acres (an 88 percent loss) in Miami-Dade County alone. Compare
  Ex. 5, EA at 6 with Ex. 4, HCP at 2. Miami-Dade County has designated and protected 39.64
  acres of the property as a pine rockland Natural Forest Community (NFC) and 3.72 acres of
  hardwood hammock NFC. Ex. 4, HCP at 16. The Project’s effects on protected species and their
  habitat could involve devastating consequences; namely because: 1) siting development so close
  to conservation land is incompatible and will lead to either public safety risks or failure to
  implement prescribed burns; and 2) the unprecedented use of the “habitat functional assessment”
  (which conflates the analysis of the affected species) and “habitat value units” will not mitigate
  harm to listed species.14

                                                              
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     The school—which is hardly mentioned at all in any of the Service’s or Permittees’
  documents—falls within a “no school zone” due to other “health and safety concerns,” i.e., from
  building schools in close proximity to airports. Ex. 5, EA at 17.
  14
     The unprecedented use of a habitat functional assessment and system of habitat value units to
  “mitigate” the Project’s impacts on many federally listed species with unique recovery needs,
  Ex. 4, HCP at 81-88, is likely establish a precedent for future actions with similar effects on rare
  habitat where it cannot be conserved acre-for-acre in a least 2:1 ratio. Specifically, it could set a
  precedent for a related action directly adjacent called Miami Wilds, leading to cumulatively
  significant impacts to species and habitat both locally and universally. See, e.g., Ex. 9, Camila
  Cepero, Miami Wilds theme park zoo lease talks continue (Dec. 20, 2016),
  http://www.miamitodaynews.com/2016/12/20/miami-wilds-theme-park-zoo-lease-talks-
  continue; Ex. 10, Jenny Staletovich, Tiger beetle could be next challenger to Miami Wilds and
  Walmart, Miami Herald (Dec. 18, 2015),
  http://www.miamiherald.com/news/local/environment/article50558240.html.
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                This Project and all of its impacts are also highly controversial, as documented by the
  more than 3,000 public comments and extensive media coverage.15 Ex. 2, SOF at 7. Indeed, the
  Service conceded that “the proposed Project has generated controversy in the County
  community.” Ex. 2, SOF at 34. See NRDC v. Nat’l Park Serv., No. 2:16-cv-585-FtM-99CM,
  2017 U.S. Dist. LEXIS 61428, at *68-69 (M.D. Fla. Apr. 24, 2017); Ctr. for Biological Diversity
  v. Animal & Plant Health Inspection Serv., No. 10-14175-CIV, 2011 U.S. Dist. LEXIS 115905,
  at *17 (S.D. Fla. Oct. 6, 2011); Fla. Wildlife Fed’n v. U.S. Army Corps of Eng’rs, 404 F. Supp.
  2d 1352, 1358 (S.D. Fla. 2005).
                Thus the Service seems to acknowledge there are significant impacts, but rather than
  prepare an EIS, the Service blithely claims that “[w]e have no regulatory control over the effects
  of the Project except to the extent they are causally related to the take of species.” Ex. 2, SOF at
  34. Likewise, in direct contrast to its finding in the BO that the Project would result in the
  permanent loss of habitat, Ex. 3, BO at 7; in the EA, the Service made the spurious claim that the
  ITP “would [somehow] not result in permanent and irreversible changes to the current state of
  the physical and biological environment, infrastructure, societal issues, economics, aesthetics, or
  public health and safety to the human environment.” Ex. 2, SOF at 37 (emphasis added).
                Consequently, the Project development meets several of the intensity factors and is
  significant in both local and more global contexts and requires an EIS. The Service’s failure to
  prepare an EIS is arbitrary and capricious and violates NEPA.




                                                              
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     See, e.g., Ex. 11, Jenny Staletovich, Feds ask developer to stop work on Walmart in rare
  Miami-Dade forest, Miami Herald (July 17, 2014),
  http://www.miamiherald.com/news/local/community/miami-dade/article1975937.html; Ex. 12,
  Trevor Bach, Thousands Sign Petition Against Walmart Development on Endangered Pine
  Rockland, Miami New Times (July 29, 2014), http://www.miaminewtimes.com/news/thousands-
  sign-petitions-against-walmart-development-on-endangered-pine-rockland-6553826; Ex. 13,
  Grant Stern, Outraged Miami Residents Confront Walmart Developer in Kendall, HuffPost
  (Sept. 12, 2014), http://www.huffingtonpost.com/grant-stern/outraged-miami-residents-
  _b_5808574.html; Ex. 14, Trevor Bach, Environmentalists Plan Protest Against Walmart,
  Theme Park Threatening Endangered Pine Rocklands, Miami New Times (Jan. 16, 2015),
  http://www.miaminewtimes.com/news/environmentalists-plan-protest-against-walmart-theme-
  park-threatening-endangered-pine-rocklands-6560653; Ex. 15, Kate Stein, Environmentalists
  Ask for Intervention to Preserve Rare Pine Rockland Forest in Southern Miami-Dade, WLRN
  (May 19, 2017), http://wlrn.org/post/environmentalists-ask-intervention-preserve-rare-pine-
  rockland-forest-southern-miami-dade.
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              iv. The Service thwarted meaningful public participation in the environmental
                  analysis and approval of the Project
         Agencies must make high quality information available to officials and citizens before
  decisions are made so “public officials make decisions that are based on understanding of
  environmental consequences.” 50 C.F.R. § 1500.1(a)-(c). Agencies must “use all practicable
  means” to assure a safe, healthy environment and preserve the nation’s natural heritage. Id.
  § 1502.2(d); 42 U.S.C. § 4331(b). “‘[C]itizen participation is a vital ingredient in the success of
  NEPA’” and the “‘opportunity for local citizens or other interested parties to participate in the
  preparation of the environmental analysis is mandatory.’” Town of Golden Beach v. U.S. Army
  Corps of Eng’rs, No. 94-1816 CIV, 1994 U.S. Dist. LEXIS 15832, *18-19 (S.D. Fla. Sept. 22,
  1994) (citation omitted) (emphasis in original); 40 C.F.R. § 1500.1(b).
         Here, the Service thwarted meaningful public participation by failing to make high
  quality information available. For example, the Service summarily rejected the “redevelopment
  alternative” purportedly because it is not an “environmentally conscious, economically viable,
  mixed-use development”; but the EA has no analysis to support the Developers’ assertions that it
  would not be commercially viable. See Ex. 5, EA at 42; Ex. 4, HCP at 69. The Service also failed
  to provide and explain the factors and assumptions underlying its habitat functional assessment,
  which underpins all environmental and species impact analyses in the EA and HCP. Ex. 4, HCP
  at 81-88; Ex. 5, EA at 58-72. For example, the Service failed to link its habitat functional
  assessment to species’ specific habitat needs, making it unclear whether the conservation plan
  will result in a conservation benefit for each species. The Service also failed to explain how
  certain parcels could receive functional lift in habitat value for “habitat connectivity” post-
  construction, at which point the Project would fragment habitat. See, e.g., Ex. 4, HCP at 74. The
  Service also failed to resolve apparent defects in the habitat functional assessment, such as the
  apparent double conservation accreditation given to the Applicant for “native plant cover” and
  “low presence of invasive species,” Ex. 4, HCP at 82, which are inversely related habitat
  qualities. By failing to provide all necessary information to assess whether the HCP and EA are
  rational and based on the best available science, the Service deprived the public of a meaningful
  opportunity to engage in the NEPA process, as required by the statute itself.




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  IV.      The balance of the harms favors issuance of a temporary restraining order and
           preliminary injunction
           Plaintiffs have demonstrated above that severe, irreparable harm to endangered species
  and the environment is likely if the Service’s approval of the Project is not enjoined. By contrast,
  the Service will not suffer any harm from having its approval stayed pending the resolution of
  this case. See Sierra Club v. U.S. Army Corps of Eng’rs, 399 F. Supp. 2d 1335, 1348 (M.D. Fla.
  2005), vacated on other grounds, 464 F. Supp. 2d 1171 (M.D. Fla. 2006); Sierra Club v. Norton,
  207 F. Supp. 2d 1310, 1341 (S.D. Ala. 2002).
           Likewise, harm to the Applicant, if any, would be minimal and would not outweigh the
  irreparable harm to Plaintiffs that will occur absent a preliminary injunction. Also, costs the
  Applicant has incurred for permitting, or from permitting-related delays, should not be
  considered because they are “sunk” costs and are not “directly affected by the agency’s
  challenged action or by the court’s order.” Norton, 207 F. Supp. 2d at 1341.
  V.       Public interest favors a temporary restraining order and preliminary injunction to
           preserve the status quo
           Moreover, any conflict with economic interests “is outweighed by the public interest in
  preserving vital aspects of the environment.” Martin, 71 F. Supp. 2d at 1329; see also Sierra
  Club, 645 F.3d at 997-98. The public interest in preserving the status quo—this unique parcel of
  South Florida’s remaining pine rocklands and, possibly, the very existence of threatened and
  endangered species—is overwhelming. The public interest in “informed agency decision-
  making,” Norton, 207 F. Supp. 2d at 1342, “requires careful consideration of environmental
  impacts before major federal projects may go forward,” S. Fork Band Council of W. Shoshone v.
  U.S. Dep’t of Interior, 588 F.3d 718, 728 (9th Cir. 2009); id. A TRO/PI “is necessary to defend
  this court’s ability to enter meaningful and effective relief.” Norton, 207 F. Supp. 2d at 1340.;
  Nat’l Wildlife Fed’n, 721 F.2d at 786.
  VI.      The Court should grant the TRO/PI without notice to the Service or its attorney
        The Court may issue the TRO/PI without written or oral notice to the Service or its attorney
  when: “specific facts in an affidavit or verified complaint clearly show that immediate and
  irreparable injury, loss, or damage will result to the movant before the adverse party can be heard
  in opposition”; and 2) “the movant’s attorney certifies in writing any efforts to give notice and
  the reasons why it should not be required.” Fed. R. Civ. P. 65(b)(1). These factors are met here.



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                The Service issued the ITP on December 5, 2017, and the Developers began the first
  phase of construction on December 7, 2017. Witnessing this devastation, Plaintiffs are suffering
  immediate and irreparable injury to their recreational, aesthetic, scientific, spiritual, and
  economic interests from habitat destruction and knowing of the resulting species harm. Ex. 18,
  Clancy Dec.; Ex. 17, Greenwald Dec.; Ex. 20, Schwartz Dec.; Ex. 19, Sunshine Dec. This harm
  will continue before the Service or Developers can be heard in opposition.16
  VII.          The Court should not require Plaintiffs to post a bond
                Plaintiffs respectfully request that the Court decline to require a bond to grant this
  motion, or a nominal bond. It is well within the Court’s discretion not to require a bond, see
  BellSouth Telecomm., Inc. v. MCIMetro Access Transmission Servs., LLC, 425 F.3d 964, 971
  (11th Cir. 2005), Defendants will not suffer substantial losses if the TRO/PI is granted, as there
  is no “reason to believe that defendants will incur costs and damages . . . .” GOS Operator, LLC
  v. Sebelius, No. 12-0035-WS-N, 2012 WL 175056, at *6 (S.D. Ala. Jan. 20, 2012); see Hospice
  Savannah, Inc. v. Burwell, No. 4:15-cv-00253-JRH-GRS, 2015 WL 8488432, at *2 (S.D. Ga.
  Sept. 21, 2015) (waiving bond where defendants “will not suffer any harm”). Plaintiffs have
  shown a likelihood of success on the merits, which also weighs in favor of waiving any bond,
  TracFone Wireless, Inc. v. Washington, 978 F. Supp. 2d 1225, 1235 (M.D. Fla. 2013), and “it is
  customary to waive bonds in public interest litigation such as this,” where Plaintiffs have no
  financial interest at stake. Sierra Club, 2011 WL 2887956, at *2 (requiring no bond); Cal. ex rel.
  Van de Kamp v. Tahoe Reg’l Planning Agency, 766 F.2d 1319, 1325-26 (9th Cir. 1985) (setting
  no bond for an environmental non-profit “to ensure access to the courts . . . where Congress has
  provided for private enforcement of a statute”); Kentuckians for the Commonwealth v. U.S. Army
  Corps of Eng’rs, No. 3:12-CV-00682-TBR, 2013 WL 5278236, at *5 (W.D. Ky. Sept. 18, 2013)
  (imposing no bond because “Plaintiffs seek to vindicate the public interest served by NEPA”).
  For all of these reasons, the Court should not require an injunction bond here.17

                                                              
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     Counsel for Plaintiffs has met its obligations under Rule 65. See Ex. 22, Atwood Dec; Ex. 23,
  Attachment to Atwood Dec.
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     If the Court does require a bond, a nominal bond is appropriate because a TRO/PI is in the
  public interest and a substantial bond requirement could chill non-profit entities “from obtaining
  meaningful judicial review or appropriate relief.” Sierra Club v. Norton, 207 F. Supp. 2d 1342,
  1343 (S.D. Ala. 2002); Davis v. Mineta, 302 F.3d 1104, 1126 (10th Cir. 2002) (“Ordinarily,
  where a party is seeking to vindicate the public interest served by NEPA, a minimal bond
  amount should be considered.”); Ala. ex rel. Baxley v. Corps of Eng’rs, 411 F. Supp. 1261, 1276
  (N.D. Ala. 1976) (setting nominal bond of $1.00 for non-profit environmental plaintiffs); Nat.
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                                            REQUEST FOR HEARING AND CONCLUSION
                For all of the foregoing reasons set forth herein, Plaintiffs respectfully request this Court
  grant the requested TRO/PI, order the Service to suspend the effectiveness of the ITP for the
  Coral Reef Commons Project, and enjoin the Service from authorizing any further ground-
  clearing activities at the Project site pending adjudication of the merits of this motion. A
  proposed order is attached.
                Plaintiffs respectfully request a hearing on this Motion, and estimate that a hearing would
  last 1 hour, with 30 minutes for each side’s arguments.


  DATED this 8th day of December, 2017.


                                                                                          Respectfully submitted,


                                                                                            /s/ Jaclyn Lopez
                                                                                          JACLYN LOPEZ, Trial Counsel
                                                                                          FL Bar No. 96445
                                                                                          Center for Biological Diversity
                                                                                          P.O. Box 2155
                                                                                          St. Petersburg, FL 33731
                                                                                          Tel: (727) 490-9190
                                                                                          Fax: (520) 623-9797
                                                                                          jlopez@biologicaldiversity.org

                                                                                            /s/ Elise Pautler Bennett
                                                                                          ELISE PAUTLER BENNETT
                                                                                          FL Bar No. 106573
                                                                                          Center for Biological Diversity
                                                                                          P.O. Box 2155
                                                                                          St. Petersburg, FL 33731
                                                                                          Tel: (727) 755-6950
                                                                                          Fax: (520) 623-9797
                                                                                          ebennett@biologicaldiversity.org

                                                                                            /s/ John Peter Rose
                                                                                          JOHN PETER ROSE
                                                                                          CA Bar No. 285819 (special admission)
                                                                                                                                                                                                  
  Res. Def. Council v. Morton, 337 F. Supp. 167, 169 (D.D.C. 1971) (concluding that a substantial
  bond would “stifle the intent” of NEPA by precluding citizen enforcement, and setting bond at
  $100).
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                                     Center for Biological Diversity
                                     660 S. Figueroa Street, Suite 1000
                                     Los Angeles, CA 90017
                                     Tel: (213) 785-5406
                                     Fax: (213) 785-7150
                                     jrose@biologicaldiversity.org


                                     __/s/ Paul J. Schwiep_______________
                                     Paul J. Schwiep
                                     FL Bar No. 823244
                                     2601 South Bayshore Drive, P1
                                     Miami, Florida 33133
                                     Tel: (305) 858-2900
                                     Fax: (305) 495-3833
                                     pschwiep@coffeyburlington.com
                                     Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 8, 2017, I electronically filed the foregoing Form A
  Notice of Conventional Filing with the Clerk of the Court by using the CM/ECF system, which
  served all counsel of record registered with CM/ECF system for this case.

                                             __/s/ Jaclyn Lopez________________
                                             JACLYN LOPEZ, FL Bar No. 96445
                                             Center for Biological Diversity
                                             P.O. Box 2155
                                             St. Petersburg, FL 33731
                                             Tel: (727) 490-9190
                                             Fax: (520) 623-9797
                                             jlopez@biologicaldiversity.org
                                             Attorney for Plaintiffs
                                             Center for Biological Diversity, et al.




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